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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 _______________________________________
                                        )
 SECURITIES AND EXCHANGE                )
 COMMISSION                             )
                   Plaintiff,           )            Case No. 1: 10-cv-2031-DLI-JMA
                                        )
       v.                               )            ECF
                                        )
 SPONGETECH DELIVERY SYSTEMS, INC.; )
 RM ENTERPRISES INTERNATIONAL,          )            RECEIVER’S NOTICE OF FILING OF
 INC.;                                  )            AMENDED PROOF OF CLAIM AS
 STEVEN Y. MOSKOWITZ;                   )            RECEIVED FROM THE
 MICHAEL E. METTER;                     )            COMMONWEALTH OF
 GEORGE SPERANZA;                       )            MASSACHUSETTS DEPARTMENT OF
 JOEL PENSLEY; and                      )            REVENUE
 JACK HALPERIN,                         )
                                        )
                   Defendants.          )
                                        )
       and                              )
                                        )
 BLUE STAR MEDIA GROUP, INC.;           )
 BUSINESSTALKRADIO.NET                  )
 ACQUISITION CORP.                      )
                                        )
                   Relief Defendants.   )
 ______________________________________ x

 TO: The Clerk of Court and all parties of record:

            PLEASE TAKE NOTICE that on June 20, 2012, the Honorable Dora L. Irizarry,

 United States Judge for the United States District Court for the Eastern District of New York (the

 “Court”), entered the Order Re: Procedure for Escrow and Disposition of Funds (the

 “Order”)(D.I. 234).

            PLEASE TAKE FURTHER NOTICE that Michael Craven, as the appointed Receiver

 of the relief defendant, BusinessTalkRadio.Net Acquisition Corp. (the “Receiver”), through

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 counsel, served the Receiver’s Important Notice to Creditors of BusinessTalkRadio.Net

 Acquisitions Corp. (f/k/a BusinessTalkRadio.Net, Inc.), The Greenwich Broadcasting

 Corporation, BTR Greenwich, Inc., BTR Communications Boston, Inc., BTR Communications

 Boston II, Inc., BTR West, Inc., BTR West II, Inc., WURP, Inc., WURP East, Inc., and The

 Lifestyle TalkRadio Network, Inc. (the “Receiver’s Notice”) upon all creditors and notified such

 creditors of the Order and the procedures for creditors to request funds from the net proceeds of

 the sale of assets that have been placed in a Court Registry Investment System Account with the

 Federal Court (D.I. 277, 299 & 305).

            PLEASE TAKE FURTHER NOTICE that pursuant to the Order and the Receiver’s

 Notice, the Receiver previously received a proof of claim from The Commonwealth of

 Massachusetts, Department of Revenue (“Department of Revenue”), and filed the proof of claim

 with the Court on November 19, 2013 (the “Massachusetts Claim” at D.I. 309).

            PLEASE TAKE FURTHER NOTICE that the Receiver has received an amended

 proof of claim from the Department of Revenue, and it is attached hereto as Exhibit A. The

 Receiver states that with respect to the Massachusetts Claim, as amended, the Boston radio

 station to which it refers was sold in August 2012. To the Receiver’s knowledge, the buyer

 moved the studios almost immediately and terminated most, if not all, of the employees.

 Otherwise, the Receiver leaves the Massachusetts Claim to be resolved in the discretion of the

 Court. If the Court requires further information, the Receiver would welcome the opportunity to

 respond.


                                        [Signature page to follow]


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 Dated: March 21, 2014               MORRIS JAMES LLP


                                     /s/ Brett D. Fallon
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                                     Counsel for Michael Craven, as the Receiver




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                                  Exhibit A




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